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                         IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



   IN RE: JOHNSON & JOHNSON
   TALCUM POWDER PRODUCTS                           Civil No. 3:16-md-2738-FLW-LHG
   MARKETING, SALES PRACTICES
   AND PRODUCTS LIABILITY
   LITIGATION

   This document relates to:
   Betsy Ross v. Johnson & Johnson, et al
   Case No. 3:17-cv-09131



                                     NOTICE OF FILING

         Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

  Complaints) that the Short Form Complaint and Jury Demand was filed on October 24, 2017 on

  behalf of Plaintiff Betsy Ross.


                                                   /s/ Lauren K. Razick
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  Dated: November 27, 2017
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on November 27, 2017, a copy of the foregoing NOTICE OF FILING
  was filed via the Court’s CM/ECF electronic filing system. Notice of this filing will be sent by
  operation of the Court’s electronic filing system to all parties indicated on the electronic filing
  receipt. Parties may access this filing through the Court’s system.



                                                       /s/ Lauren K. Razick
                                                       Lauren K. Razick

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